                                                          1   Guttilla Murphy Anderson
                                                              Ryan W. Anderson (Ariz. No. 020974)
                                                          2   5415 E. High Street, Suite 200
                                                              Phoenix, Arizona 85054
                                                          3   Email: randerson@gamlaw.com
                                                              Phone: (480) 304-8300
                                                              Fax: (480) 304-8301
                                                          4
                                                              Attorneys for David Reaves, as Receiver in Case No.
                                                          5   CV2020-001402, Maricopa County Superior Court

                                                          6                               UNITED STATES BANKRUPTCY COURT
                                                          7                                        DISTRICT OF ARIZONA
                                                          8       In re:                                       Chapter 11

                                                          9       POTENTIAL DYNAMIX, LLC,                      Case No. 2:11-bk-28944-DPC
Guttilla Murphy Anderson, P.C.
                        5415 E. High Street, Suite 200




                                                         10                                                    THIRD APPLICATION FOR
                             Phoenix, AZ 85054




                                                                                      Debtor.                  APPROVAL AND REIMBURSEMENT
                               (480) 304-8300




                                                         11                                                    OF EXPENSES AS FORMER COUNSEL
                                                                                                               TO CHAPTER 11 TRUSTEE
                                                         12

                                                         13                David M Reaves, the court-appointed Receiver 1 of Schian Walker, P.L.C. a/k/a

                                                         14   SWAZLAW a/k/a SWAZLAW P.L.C. hereby files Schian Walker P.L.C.’s Third

                                                         15   Application for Approval and Reimbursement of Expenses as Former Counsel to Chapter 11

                                                         16   Trustee as follows:

                                                         17                1.    On or about January 27, 2012, Timothy H. Shaffer was appointed as the

                                                         18   Chapter Trustee of Potential Dynamix, LLC (“Trustee”).

                                                         19                2.    On April 17, 2013, the Trustee filed his Application by Timothy H. Shaffer,

                                                         20   Chapter 11 Trustee to Employ Schian Walker, PLC (“Schian Walker”) as Counsel to the

                                                         21   Trustee (“Employment Application No. 1”).             [See Dkt 237] Pursuant to Employment

                                                         22
                                                              1
                                                               Mr. Reaves is the Court appointed Receiver in Case No. CV2020-001402, Maricopa County
                                                             Superior Court.
                                                          Case 2:11-bk-28944-DPC Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17 Desc
                                                                                      Main Document      Page 1 of 25
                                                         1    Application No. 1, the Trustee agreed that Schian Walker would be compensated based

                                                         2    upon its “normal and usual hourly billing rates”. Employment Application No. 1 indicates

                                                         3    that Schian Walker was received a $25,000.00 fee deposit from the Trustee. On May 13,

                                                         4    2013, the Court entered an Order granting Employment Application No. 1.

                                                         5          4.     On August 27, 2013, Schian Walker filed its First Fee Application to Allow

                                                         6    Interim Compensation for Fees and Costs of Schian Walker, P.L.C. as Counsel for Trustee

                                                         7    (“Fee Application No. 1”).      In this application, Schian Walker sought approval of

                                                         8    professional fees of $177,144.58, minus payments made pursuant to the Knudsen Order and

                                                         9    “Cover Sheet Applications”. [See Dkt 349] On October 9, 2013, the Court entered an Order
Guttilla Murphy Anderson, P.C.
                        5415 E. High Street, Suite 200




                                                         10   approving Fee Application No. 1. [See Dkt 377]
                             Phoenix, AZ 85054
                               (480) 304-8300




                                                         11         5.     On December 2, 2013, the Trustee filed his Chapter 11 Trustee’s Application

                                                         12   to Amend Employment Agreement with Schian Walker P.L.C. to Authorize Compensation

                                                         13   on a Contingent Fee Basis for Certain Litigation Matters (“Employment Application No.

                                                         14   2”). As detailed in Employment Application No. 2, in December 2013, the Chapter 11

                                                         15   bankruptcy estate had unpaid administrative expenses and costs that included over

                                                         16   $243,614.70. Schian Walker agreed to litigate certain preference matters on a contingency

                                                         17   fee basis. [See Dkt 396] Employment Application No. 2 details that Schian Walker will

                                                         18   “continue to provide legal services to the Trustee on matters not related to the preference

                                                         19   matters. [See Dkt 396 at ¶12]. On January 8, 2014, the Court approved Employment

                                                         20   Application No. 2. [See Dkt 402]

                                                         21         7.     On April 24, 2014, Schian Walker filed its Second Fee Application to Allow

                                                         22   Interim Compensation for Fees and Costs of Schian Walker P.L.C. as Counsel for the

                                                                                                        2
                                                          Case 2:11-bk-28944-DPC      Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17         Desc
                                                                                      Main Document    Page 2 of 25
                                                         1    Trustee (“Fee Application No. 2”). [See Dkt 432]. As detailed in Fee Application No. 2,

                                                         2    Schian Walker reported that it has received payments of $48,376.18 pursuant to the

                                                         3    Knudsen Order and Cover Sheet Applications and now sought approval of $158,634.72 in

                                                         4    legal fees and expenses. On May 27, 2014, the Court entered an Order approving Fee

                                                         5    Application No. 2. [See Dkt 440]

                                                         6          8.     On June 17, 2019, the Trustee filed his Application to Employ Schian Walker

                                                         7    PLC on a Contingent Fee Basis. (“Employment Application No. 3”) [See Dkt 566]. As

                                                         8    detailed in Employment Application No. 3, Schian Walker represents that it has “unpaid

                                                         9    time” with a value of $284,360.37 in connection with “the relief from stay and adequate
Guttilla Murphy Anderson, P.C.
                        5415 E. High Street, Suite 200




                                                         10   protection billing category and been paid $42,616 for services related to the “relief from
                             Phoenix, AZ 85054
                               (480) 304-8300




                                                         11   stay and adequate protection billing category”. Additionally, Schian Walker represents that

                                                         12   it has “unpaid time” with a value of $1,124,477.15 in connection with the “litigation billing

                                                         13   category” and has been paid $102,989.34 for services related to the “litigation billing

                                                         14   category”. [See Dkt 566 at ¶7] Moreover, Schian Walker represents that it has incurred

                                                         15   costs of $499,713.62 for which it has been reimbursed for only $8,117.38. [See Dkt 566 at

                                                         16   ¶8]

                                                         17         9.     Employment Application No. 3 sets forth that Schian Walker has “agreed, to

                                                         18   forgo the hourly fees Schian Walker is entitled to and convert that portion of the

                                                         19   representation to a contingent fee equal to 40% of the gross amount of any recovery, but

                                                         20   reduced to the extent of any fee due to Schian Walker, and giving credit for fees previously

                                                         21   paid in the amount of $145,605.34”. [See Dkt 566 at ¶10] Schian Walker attached, as

                                                         22

                                                                                                         3
                                                          Case 2:11-bk-28944-DPC       Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17          Desc
                                                                                       Main Document    Page 3 of 25
                                                         1    Exhibit “B” to Employment Application No. 3, a copy of the Contract for Legal Services

                                                         2    setting forth the agreement between Schian Walker and the Trustee.

                                                         3             10.   On June 18, 2019, the Court approved Employment Application No. 3. [See

                                                         4    Dkt 568]

                                                         5             11.   On January 29, 2020, Dale Schian caused to be filed a Stipulation for

                                                         6    Substitution of Counsel representing “Dale C. Schian and Scott R. Goldberg, formerly of

                                                         7    Schian Walker P.L.C. are counsel of record Timothy H. Shaffer as Chapter 11 Trustee in

                                                         8    this (the “Trustee”) in this matter. The Trustee wishes to substitute James E. Cross as his

                                                         9    counsel in this matter.” [See Dkt 573]
Guttilla Murphy Anderson, P.C.
                        5415 E. High Street, Suite 200




                                                         10            12.   On January 30, 2020, the Trustee filed his Application to Employ Gallagher &
                             Phoenix, AZ 85054
                               (480) 304-8300




                                                         11   Kennedy as Special Counsel to Conclude the Representation of the Trustee in Adversary

                                                         12   2:13-AP-00799 (“G&K Employment Application”). In the G&K Employment Application,

                                                         13   the Trustee requests the employment of G&K on a nunc pro tunc basis and advises the

                                                         14   Court:

                                                         15            Dale Schian joined Gallagher & Kennedy on September 1, 2019. As the record in
                                                                       the Adversary reflects, activity in the Adversary was active and highly contentious
                                                         16            last summer and fall. It was initially unclear which counsel would continue with the
                                                                       representation and in what capacity. Discovery was sought from the Trustee and his
                                                         17            expert at a time when Schian Walker was unable to fulfill its obligations under its
                                                                       agreements with the Trustee and the expert. Gallagher & Kennedy learned shortly
                                                         18            before an impending deadline that it would be counsel in the Adversary and
                                                                       immediately commenced work to meet that deadline, cure deficiencies and engage
                                                         19            the expert. (G&K Employment Application at ¶9). (Emphasis Added)

                                                         20            13.   By all accounts, in September of 2019, Schian Walker was unable to provide

                                                         21   legal services to the Trustee and therefore effectively terminated its representation of the

                                                         22   Trustee. Accordingly, pursuant to the express terms of the Contract for Legal Services

                                                                                                          4
                                                          Case 2:11-bk-28944-DPC        Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17         Desc
                                                                                        Main Document    Page 4 of 25
                                                          1   between the Trustee and Schian Walker dated June 17, 2019, in the event that the

                                                          2   representation of the Trustee was “terminated by Schian Walker, no payments shall be due

                                                          3   Schian Walker, except for reimbursement of all reasonable costs and expenses incurred on

                                                          4   the Trustee’s behalf. Accordingly, Schian Walker does not seek payment of any amount

                                                          5   representing legal fees and only seeks reimbursement of costs and expenses advanced for

                                                          6   the benefit of the Trustee 2.

                                                          7          14.     Schian Walker has unpaid costs and expenses of $463,459.65 which were

                                                          8   incurred on behalf of the Trustee. See Exhibit “A”.

                                                          9          15.     Schian Walker’s expenses include advancing expert witness fees, photocopies,
Guttilla Murphy Anderson, P.C.
                        5415 E. High Street, Suite 200




                                                         10   messenger services, deposition expenses, filing fees, PACER charges, postage, parking,
                             Phoenix, AZ 85054
                               (480) 304-8300




                                                         11   travel expenses and Westlaw legal research. All expenses incurred to third parties, such as

                                                         12   expert witness fees, Federal Express charges, computer research, and parking and travel and

                                                         13   lodging costs are limited to the actual amount paid by Schian Walker.

                                                         14          16.     A copy of this Application was provided to the Trustee in advance of filing.

                                                         15          17.     Based on the foregoing, Schian Walker respectfully requests an order of this

                                                         16   Court approving and allowing Schian Walker’s administrative claim for reimbursement of

                                                         17   costs in the total sum of $463,459.65, and further allowing for the immediate payment of

                                                         18   the above amount to the Firm provided that payment will not prejudice claimants of equal or

                                                         19   higher priority.

                                                         20

                                                         21   2
                                                              The cost application of Schian Walker is not intended to affect the First Interim Application for
                                                             Compensation and Reimbursement of Fees for Gallagher & Kennedy at Dkt #673. The Receiver
                                                         22 reserves the right to file a separate Fee Application seeking payment of legal fees incurred for non-
                                                             Amazon related legal services provided to the Trustee.
                                                                                                               5
                                                          Case 2:11-bk-28944-DPC Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17 Desc
                                                                                          Main Document        Page 5 of 25
                                                         1          Dated this 7th day of October, 2022.

                                                         2                                                 GUTTILLA MURPHY ANDERSON, P.C.

                                                         3
                                                                                                           /s/ Ryan W. Anderson
                                                         4                                                 Ryan W. Anderson
                                                                                                           Attorneys for the Receiver
                                                         5
                                                              COPY of the foregoing emailed if marked with
                                                         6    an “*” or otherwise mailed on October 7, 2022 to:

                                                         7    James E. Cross                                Patrick Barrowclough, Esq.
                                                              Cross Law Firm, PLC                           Atkinson, Hammill & Barrowclough, PC
                                                         8    1850 N. Central Avenue, Suite 1150            3550 N. Central Ave., Suite 1150
                                                              Phoenix, AZ 85004                             Phoenix, AZ 85012
                                                         9    jcross@crosslawaz.com                         pbarrowclough@ahblawfirm.com
Guttilla Murphy Anderson, P.C.




                                                              Attorneys for Chapter 11 Trustee, Timothy     Counsel for Select Nutrition Distribution
                        5415 E. High Street, Suite 200




                                                         10   Shaffer
                             Phoenix, AZ 85054
                               (480) 304-8300




                                                         11   Elizabeth Amorosi                             Thomas Allen, Esq.
                                                              Richard Cuellar                               Michael Jones, Esq.
                                                         12   Jennifer Giaimocredit                         Allen, Barnes & Jones, PLC
                                                              Office of the U.S. Trustee                    1850 N. Central Ave., Suite 1150
                                                         13   230 N. 1st Ave., Suite 204                    Phoenix, AZ 85004
                                                              Phoenix, AZ 85003                             tallen@allenbarneslaw.com
                                                         14   Elizabeth.C.Amorosi@usdoj.gov                 mjones@allenbarneslaw.com
                                                              Jennifer.A.Giaimo@usdoj.gov                   Counsel for the Official Committee of
                                                         15   Counsel for U.S. Trustee                      Unsecured Creditors

                                                         16   John S. Kaplan, Esq                           Jeffrey Weston Shields
                                                              Eric J. Weiss                                 Jones Waldo Holbrook & McDonough PC
                                                         17   Mallory Gitt Webster                          170 South Main Street, Suite 150
                                                              Perkins Coie, LLP                             Salt Lake City, UT 84101
                                                         18   1201 Third Avenue, #4900                      jshields@joneswaldo.com
                                                              Seattle, Washington 98101-3099                Attorneys for Transportation Alliance Bank,
                                                         19   jkaplan@perkinscoie.com                       Inc.
                                                              EWeiss@perkinscoie.com
                                                         20   mwebster@perkinscoie.com
                                                              Counsel for Amazon Services LLC
                                                         21

                                                         22

                                                                                                        6
                                                          Case 2:11-bk-28944-DPC      Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17         Desc
                                                                                      Main Document    Page 6 of 25
                                                         1    John J. Fries                                Gary R. Stickell
                                                              Ryley Carlock & Applewhite                   Attorney at Law, P.C.
                                                         2    One North Central Avenue, Suite 1200         301 E. Bethany Home Road, Suite B100
                                                              Phoenix, AZ 85004                            Phoenix, AZ 85012
                                                         3    jfries@rcalaw.com                            gstickell@garystickell.net
                                                              Attorneys for Europa Sports Products, Inc.   Attorney for Daniel Belino
                                                         4
                                                              Richard M. Lorenzen, Esq.                    Scott K Brown
                                                         5    Perkins Coie, LLP                            Lewis and Roca LLP
                                                              2901 North Central Avenue, #2000             40 N. Central Avenue, 19th Floor
                                                         6    Phoenix, Arizona 85012-2788                  Phoenix, AZ 85004
                                                              rlorenzen@perkinscoie.com                    SBrown@lrrc.com
                                                         7    Counsel for Amazon Services LLC              Attorneys for Transportation Alliance Bank,
                                                                                                           Inc.
                                                         8
                                                              Anthony W. Austin                            Patrick A. Clisham
                                                         9    Fennemore Craig, P.C.                        Engelman Berger, P.C.
Guttilla Murphy Anderson, P.C.




                                                              3003 N. Central Avenue, Suite 2600           3636 N. Central Avenue, Suite 700
                        5415 E. High Street, Suite 200




                                                         10   Phoenix, AZ 85012                            Phoenix, AZ 85012
                             Phoenix, AZ 85054




                                                              aaustin@fclaw.com                            pac@eblawyers.com
                               (480) 304-8300




                                                         11   Attorneys for Mathew J. Schmidt              Attorneys for Threshold Enterprises Ltd.

                                                         12   Mark S Hoffman                               Keith L. Hendricks
                                                              Erika L. Mansky                              Moyes Sellers & Hendricks
                                                         13   1631 W. Beverly Blvd., Second Floor          1850 N. Central Avenue, Suite 1100
                                                              Los Angeles, CA 90026                        Phoenix, Az 85004
                                                         14   mshllh@aol.com                               khendricks@law-msh.com
                                                              Attorneys for Honey's Place, Inc.            Attorneys for Interested Parties Cody Jess
                                                         15                                                and Scott Goldberg

                                                         16   /s/ Louis A. Lofredo
                                                              2902-002 (482943)
                                                         17

                                                         18

                                                         19

                                                         20

                                                         21

                                                         22

                                                                                                        7
                                                          Case 2:11-bk-28944-DPC      Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17        Desc
                                                                                      Main Document    Page 7 of 25
                                                                                                                 SWAZLAW, P.L.C.
                                                                                                                  Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                  Unit       Rate      Value       Invoice #


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 05/03/2013                               5278              Soft              E102                               Printing and reproduction - FDA Enforceme 1          $549.60    $549.60          34170


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 05/09/2013                               4284              Hard              E103                               Parking expense                                 1      $5.00      $5.00          34170


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 06/11/2013                               5772              Hard              E110                               Bankruptcy Court access fee                     1     $15.90     $15.90          34202




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 06/20/2013                               5156              Hard              E101                               Photocopies                                   15       $0.15      $2.25          34202


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 06/20/2013                               5768              Hard              E103                               Parking expense                                 1      $6.00      $6.00          34202


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)




Main Document
                 07/01/2013                               5376              Hard              E113                               Iron Horse Legal - delivery to Perkins Coie     1     $10.00     $10.00          34297


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/09/2013                               5587              Hard              E112                                Filing fee - adversary complaint               1    $293.00    $293.00          34297


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 07/22/2013                               5969              Hard              E103                               Parking expense                                 1      $3.00      $3.00          34297




                 Page 8 of 25
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 07/31/2013                               6540              Hard              E106                               Westlaw research                                1    $483.42    $483.42          34297


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 08/06/2013                               6587              Hard              E103                               Parking expense                                 1      $8.00      $8.00          34475


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/15/2013                               6795              Hard              E108                                Postage expense                                1      $5.60      $5.60          34475




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 08/27/2013                               7238              Hard              E109                               Travel expenses - taxi [Seattle]                1     $47.90     $47.90          34475




                        Desc
                                Page: 1 of 18                                                                       Exhibit "A"                                                                        Client Expense Report
                                                                                                                 SWAZLAW, P.L.C.
                                                                                                                  Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                               Description                              Unit       Rate      Value       Invoice #


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 08/27/2013                               7239              Hard              E109                               Travel expenses - meals [Seattle]            1     $12.00     $12.00          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 08/27/2013                               7534              Hard              E107                               Federal Express - Perkins Coie (Seattle)     1     $60.00     $60.00          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 08/28/2013                               7535              Hard              E107                               Federal Express - Perkins Coie (Seattle)     1    $123.77    $123.77          34475




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 08/30/2013                               7104              Hard              E106                               Westlaw research                             1    $156.57    $156.57          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 08/30/2013                               7550              Hard              E110                               Bankruptcy Court access fee                  1     $11.80     $11.80          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)




Main Document
                 08/30/2013                               8696              Hard              E103                               Parking expense - Sky Harbor                 1     $33.00     $33.00          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/09/2013                               7536              Hard              E107                               Federal Express - Perkins Coie (Seattle)     1    $136.39    $136.39          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/10/2013                               7585              Hard              E111                               Meals - The Capital Grille [Seattle]         1     $27.92     $27.92          34475




                 Page 9 of 25
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/10/2013                               8699              Hard              E109                               Travel expense - Hotel Monaco [Seattle]      1    $276.28    $276.28          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/11/2013                               7586              Hard              E111                               Meals - W Hotel [Seattle]                    1     $47.79     $47.79          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/11/2013                               7587              Hard              E103                               Parking expense - Sky Harbor                 1     $44.00     $44.00          34475




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/11/2013                               7589              Hard              E107                               Federal Express                              1    $183.40    $183.40          34475




                        Desc
                                Page: 2 of 18                                                                                                                                                       Client Expense Report
                                                                                                                 SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                  Unit         Rate        Value       Invoice #


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/11/2013                               8698              Hard              E109                               Travel expenses - W Hotel [Seattle]             1     $675.64      $675.64           34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/30/2013                               8033              Hard              E106                               Westlaw research                                1    $1,072.14    $1,072.14          34475


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/30/2013                               8392              Hard              E110                               Bankruptcy Court access fee                     1       $2.60        $2.60           34475




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 10/09/2013                               8602              Hard              E113                               Iron Horse Legal - fee to file document und     1      $10.00       $10.00           34792


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 10/16/2013                               8750              Hard              E103                               Parking expense                                 1       $2.00        $2.00           34792


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)




Main Document
                 10/31/2013                               9593              Hard              E110                               Bankruptcy Court access fee                     1      $79.50       $79.50           34792


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 10/31/2013                               9597              Hard              E106                               Westlaw research                                1     $109.12      $109.12           34792


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 11/06/2013                               9518              Hard              E103                               Parking expense                                 1       $8.00        $8.00           34792




                 Page 10 of 25
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 12/31/2013                              10984              Hard              E106                               Westlaw research                                1     $192.30      $192.30           34792


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 12/31/2013                              11574              Hard              E110                               Bankruptcy Court access fee                     1       $7.50        $7.50           34792


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/15/2014                              11681              Hard              E103                                Parking expense                                1       $2.00        $2.00           34792




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 01/31/2014                              12650              Hard              E110                               Bankruptcy Court access fee                     1       $5.50        $5.50           34792




                        Desc
                                Page: 3 of 18                                                                                                                                                              Client Expense Report
                                                                                                                 SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                 Unit       Rate      Value       Invoice #


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 05/02/2014                              16943              Hard              E113                               Iron Horse Legal - file documents under se     1     $10.00     $10.00          34935


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/05/2014                              16050              Hard              E113                                Iron Horse Legal - deliver sealed documen     1     $12.00     $12.00          34935


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 07/29/2014                              17983              Hard              MISC                               TERIS - Relativity monthly database monit      1    $300.00    $300.00          35119




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 07/30/2014                              17991              Hard              MISC                               TERIS - Relativity monthly database monit      1     $60.00     $60.00          35119


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/11/2014                              18460              Hard              E103                                Parking expense                               1      $2.00      $2.00          35159


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)




Main Document
                 08/28/2014                              18863              Hard              MISC                               TERIS - Relativity monthly database monit      1     $60.00     $60.00          35159


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 09/04/2014                              19344              Hard              E113                                Iron Horse Legal - delivery to client         1     $17.00     $17.00          35288


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 09/29/2014                              19684              Hard                                                 TERIS - Relativity monthly database monit      1     $60.00     $60.00          35288




                 Page 11 of 25
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 10/28/2014                              20763              Soft              MISC                               TERIS - Relativity monthly database monit      1     $60.00     $60.00          35375


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/31/2014                              20897              Hard              E106                                Westlaw research                              1     $69.80     $69.80          35375


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/31/2014                              21278              Hard              E110                                Bankruptcy Court access fee                   1     $37.90     $37.90          35375




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 11/07/2014                              21483              Soft              E101                                Photocopies                                 513      $0.15     $76.95          36011




                        Desc
                                Page: 4 of 18                                                                                                                                                         Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                    Unit       Rate      Value       Invoice #


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 11/25/2014                              22508              Hard              MISC                               TERIS - Relativity monthly database monit         1     $60.00     $60.00          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/08/2014                              22240              Hard              E101                                Photocopies                                    10       $0.15      $1.50          36011


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 12/23/2014                              23700              Hard              MISC                               TERIS - Relativity monthly database monit         1     $60.00     $60.00          36011




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/31/2014                              23137              Hard              E110                                Bankruptcy Court access fee                      1      $4.40      $4.40          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/12/2015                              23445              Hard              E101                                Photocopies                                    12       $0.15      $1.80          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 01/12/2015                              23488              Hard              E103                                Parking expense                                  1      $2.00      $2.00          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/12/2015                              23633              Hard              E113                                Iron Horse Legal - file notice of bankruptcy     1     $14.00     $14.00          36011


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 01/26/2015                              24787              Hard              MISC                               TERIS - Relativity monthly database monit         1     $60.00     $60.00          36011




                 Page 12 of 25
                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 02/27/2015                              25770              Hard              MISC                               TERIS - Relativity monthly database monit         1     $60.00     $60.00          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 02/28/2015                              25244              Hard              E106                                Westlaw research                                 1    $361.05    $361.05          36011


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 03/27/2015                              25796              Hard              MISC                               TERIS - shut down Relativity database             1    $420.40    $420.40          36011




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/31/2015                              26237              Hard              E106                                Westlaw research                                 1    $143.21    $143.21          36011




                        Desc
                                Page: 5 of 18                                                                                                                                                            Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                   Unit       Rate      Value       Invoice #


                 Timothy H. Shaffer                1158/1158.19 SRG         BK Debtor Chap 11 Shaffer-Dynamix (19 - Relief from Stay and Adequate Protection)
                 03/31/2015                              28043              Hard              MISC                               TERIS - Relativity monthly database monit        1     $60.00     $60.00          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/13/2015                              26833              Hard              E103                                Parking expense                                 1      $3.00      $3.00          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/30/2015                              27507              Hard              E106                                Westlaw research                                1    $386.09    $386.09          36011




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/31/2015                              28739              Hard              E110                                Bankruptcy Court access fee                     1      $8.40      $8.40          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/25/2015                              29058              Hard              E113                                Iron Horse Legal - deliver documents unde       1     $12.00     $12.00          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 06/30/2015                              29369              Hard              E106                                Westlaw research                                1    $845.50    $845.50          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/01/2015                              29386              Soft              E101                                Photocopies                                   178      $0.15     $26.70          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/02/2015                              29568              Hard              E113                                Iron Horse Legal - fee to file documents un     1     $14.00     $14.00          36011




                 Page 13 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/08/2015                              29663              Hard              E103                                Parking expense                                 1      $8.00      $8.00          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2015                              30229              Hard              E106                                Westlaw research                                1    $811.19    $811.19          36011


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/31/2015                              31530              Hard              E106                                Westlaw research                                1     $56.59     $56.59          36121




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 09/29/2015                              32908              Hard              E113                                Iron Horse Legal - delivery to Perkins Coie     1     $12.00     $12.00          36196




                        Desc
                                Page: 6 of 18                                                                                                                                                           Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                   Unit          Rate         Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/14/2015                              33211              Soft              E101                                Photocopies                                   46          $0.15         $6.90          36261


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/14/2015                              33212              Soft              E108                                Postage expense                                 1         $3.72         $3.72          36261


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/03/2015                              34708              Hard              E108                                Postage expense                                 1         $5.68         $5.68          36413




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/29/2015                              35846              Soft              E113                                Iron Horse Legal - delivery to Perkins Coie     1       $14.00        $14.00           36413


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/05/2016                              35617              Soft              MISC                                Ness Consulting, LLC                            1    $20,434.00    $20,434.00          36478


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 05/31/2016                              42538              Soft              PACER                               Bankruptcy Court access fee                     1         $1.80         $1.80          36810


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/03/2016                              42288              Soft              MISC                                Ness Consulting, LLC                            1     $1,204.00     $1,204.00          36834


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 11/30/2016                              49099              Soft              WL                                  Westlaw research                                1      $501.65       $501.65           37225




                 Page 14 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/31/2016                              49626              Soft              WL                                  Westlaw research                                1      $380.59       $380.59           37260


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/12/2017                              50135              Soft              PARK                                Parking expense                                 1         $5.00         $5.00          37314


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/30/2017                              50273              Soft              PARK                                Parking expense                                 1         $2.00         $2.00          37314




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/31/2017                              50798              Soft              WL                                  Westlaw research                                1       $11.27        $11.27           37314




                        Desc
                                Page: 7 of 18                                                                                                                                                                 Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                     Unit         Rate        Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/17/2017                              52123              Hard              PS                                  Postage expense                                   1       $3.08        $3.08           37483


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/31/2017                              52871              Soft              WL                                  Westlaw research                                  1      $68.20       $68.20           37483


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/14/2017                              53124              Soft              PC                                  Photocopies                                     20        $0.15        $3.00           37501




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/28/2017                              53680              Soft              MISC                                Ness Consulting, LLC                              1    $2,016.00    $2,016.00          37501


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/28/2017                              54043              Soft              WL                                  Westlaw research                                  1     $274.26      $274.26           37501


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 05/03/2017                              56752              Soft              TEL                                 Long-distance charges [conference call]           1      $10.09       $10.09           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/11/2017                              56750              Soft              MISC                                Inertia Software - E-Discovery case update        1     $350.00      $350.00           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/31/2017                              56662              Soft              WL                                  Westlaw research                                  1     $271.52      $271.52           37871




                 Page 15 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/12/2017                              56660              Soft              MISC                                Inertia Software - E-Discovery udpates            1      $70.00       $70.00           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/20/2017                              56658              Soft              PR                                  Printing and reproduction expense of color        1     $346.00      $346.00           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/20/2017                              58643              Soft              MISC                                American Airlines - tickets to Seattle for So     1     $897.08      $897.08           37871




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/30/2017                              58639              Soft              WL                                  Westlaw research                                  1     $412.05      $412.05           37871




                        Desc
                                Page: 8 of 18                                                                                                                                                                 Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                    Unit         Rate        Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/10/2017                              58623              Hard              TEL                                 Long-distance charges [conference call]          1      $12.57       $12.57           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/25/2017                              58605              Hard              TEL                                 Long-distance charges [conference call]          1       $7.92        $7.92           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/28/2017                              60072              Soft              TRV                                 Travel expense - taxi [July depositions in S     1      $50.00       $50.00           37871




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2017                              58599              Hard              WL                                  Westlaw research                                 1     $213.40      $213.40           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2017                              60074              Hard              ML                                  Travel expense - meals [July depositions in      1     $101.12      $101.12           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 07/31/2017                              60076              Hard              PR                                  Printing and reproduction expense - exhibi       1     $468.70      $468.70           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2017                              60077              Soft              PARK                                Parking expense - Sky Harbor airport             1      $75.00       $75.00           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2017                              60082              Soft              TRV                                 Southwest Airlines - Scott Goldberg              1     $366.23      $366.23           37871




                 Page 16 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2017                              60083              Soft              TRV                                 Southwest Airlines - Stephen Ashworth            1     $366.23      $366.23           37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/01/2017                              60079              Hard              TRV                                 Hotel Monaco Seattle - Scott Goldberg            1    $1,113.76    $1,113.76          37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/01/2017                              60081              Hard              TRV                                 Hotel Monaco Seattle - Stephen Ashworth          1    $1,174.64    $1,174.64          37871




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/07/2017                              58074              Hard              PACER                               Bankruptcy Court access fee                      1      $16.90       $16.90           37871




                        Desc
                                Page: 9 of 18                                                                                                                                                                Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                 Unit          Rate         Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/10/2017                              58595              Soft              PR                                  YOM Court Reporting - Soder video depos       1     $1,341.00     $1,341.00          37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/10/2017                              58597              Soft              PR                                  YOM Court Reporting - Ice deposition trans 1        $1,666.00     $1,666.00          37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/10/2017                              60104              Hard              PR                                  YOM Court Reporting - Ice video depositio     1     $2,340.25     $2,340.25          37871




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/15/2017                              58593              Soft              PR                                  YOM Court Reporting - Soder deposition tr     1     $1,948.45     $1,948.45          37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/24/2017                              58968              Hard              EXP                                 Ness Consulting - Expert Witness Fees (10 1        $14,120.00    $14,120.00          37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 08/24/2017                              58970              Hard              EXP                                 Ness Consulting - Expert Witness Fees (11 1         $7,516.00     $7,516.00          37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/24/2017                              58972              Hard              EXP                                 Ness Consulting - Expert Witness Fees (12 1         $4,072.00     $4,072.00          37871


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/31/2017                              59534              Hard              WL                                  Westlaw research                              1       $26.81        $26.81           37871




                 Page 17 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 09/01/2017                              60780              Hard              EXP                                 Ness Consulting - expert witness fees         1     $7,308.00     $7,308.00          37947


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 09/07/2017                              60894              Hard              TEL                                 Long-distance charges [conference call]       1         $7.82         $7.82          37947


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 09/30/2017                              60850              Hard              WL                                  Westlaw research                              1      $299.64       $299.64           37947




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/31/2017                              61857              Hard              WL                                  Westlaw research                              1       $79.90        $79.90           37974




                        Desc
                                Page: 10 of 18                                                                                                                                                              Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                   Unit         Rate        Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/31/2017                              62004              Hard              PACER                               Bankruptcy Court access fee                     1       $1.40        $1.40           37974


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 11/30/2017                              62938              Hard              WL                                  Westlaw research                                1     $172.69      $172.69           38052


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/04/2017                              64423              Hard              TRV                                 Delta Airlines - airfare to Seattle             2     $431.40      $862.80           38132




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/04/2017                              64424              Hard              HOT                                 Hotels.com - W Hotel Seattle                    1     $534.32      $534.32           38132


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/05/2017                              63966              Hard              PR                                  YOM Court Reporting - Amazon 30(b)(6) d         1    $2,394.35    $2,394.35          38132


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 12/06/2017                              64425              Hard              HOT                                 W Hotel Seattle                                 1     $122.40      $122.40           38132


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/06/2017                              64426              Hard              PARK                                Skyharbor Parking - Seattle trip                1      $54.00       $54.00           38132


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/08/2017                              64254              Hard              TEL                                 Long-distance charges [conference call]         1      $29.40       $29.40           38132




                 Page 18 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/14/2017                              63802              Hard              DEL                                 Federal Express - delivery to Mr. English &     1      $30.56       $30.56           38132


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/20/2017                              64258              Hard              TEL                                 Long-distance charges [conference call]         1       $2.87        $2.87           38132


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/31/2017                              64305              Hard              WL                                  Westlaw research                                1      $49.50       $49.50           38132




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/26/2018                              65339              Hard              PROF                                Kurk Spendlove - data analysis and IT con       1    $2,000.00    $2,000.00          38348




                        Desc
                                Page: 11 of 18                                                                                                                                                              Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                  Unit          Rate         Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/31/2018                              67850              Hard              PROF                                Morones Analytics - Consulting fees [Jan. 2 1        $2,445.00     $2,445.00          38348


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 02/07/2018                              67087              Hard              TEL                                 Long-distance charges [conference call]        1         $3.27         $3.27          38348


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/08/2018                              68505              Hard              TEL                                 Long-distance charges [conference call]        1       $11.29        $11.29           38434




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/13/2018                              67354              Hard              PR                                  YOM Court Reporting Services - Amazon 3        1     $1,245.41     $1,245.41          38434


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/31/2018                              67951              Hard              WL                                  Westlaw research                               1       $23.02        $23.02           38434


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 04/03/2018                              68503              Hard              EXP                                 Morones Analytics - Expert Witness Fees        1    $26,250.00    $26,250.00          38458


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/05/2018                              70582              Hard              EXP                                 Morones Analytics - expert witness fees        1    $31,914.00    $31,914.00          38567


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/30/2018                              69920              Hard              PACER                               PACER document access fee                      1         $9.70         $9.70          38458




                 Page 19 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/08/2018                              70184              Hard              EXP                                 Morones Analytics - expert witness fees [A     1    $48,450.00    $48,450.00          38567


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/23/2018                              70517              Hard              EXP                                 Ashworth Consulting, LLC - Portland, OR m 1          $2,061.48     $2,061.48          38567


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/24/2018                              70847              Hard              TEL                                 Long-distance charges [conference call]        1       $17.23        $17.23           38567




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/31/2018                              70778              Hard              WL                                  Westlaw research                               1      $175.21       $175.21           38567




                        Desc
                                Page: 12 of 18                                                                                                                                                               Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                   Unit          Rate         Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/11/2018                              71853              Hard              EXP                                 Morones Analytics - Expert Witness Fees         1    $42,078.00    $42,078.00          38604


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/13/2018                              72982              Hard              EXP                                 Morones Analytics - Expert Witness Fees [       1    $29,085.00    $29,085.00          38742


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2018                              74190              Hard              EXP                                 Morones Analytics - expert witness fees [in     1    $77,951.39    $77,951.39          38742




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/01/2018                              73994              Hard              ML                                  FEZ - meal expense                              1      $133.05       $133.05           38822


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/27/2018                              75328              Hard              TEL                                 Long-distance charges [conference call]         1       $20.89        $20.89           38822


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 08/31/2018                              75308              Hard              WL                                  Westlaw research                                1       $60.68        $60.68           38822


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 09/10/2018                              75941              Hard              EXP                                 Morones Analytics - August time and expe        1    $20,890.56    $20,890.56          38843


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 09/14/2018                              76625              Hard              TEL                                 Long-distance charges [conference call]         1       $35.44        $35.44           38843




                 Page 20 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 09/25/2018                              76626              Hard              TEL                                 Long-distance charges [conference call]         1         $7.33         $7.33          38843


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/09/2018                              76832              Hard              EXP                                 Morones Analytics - expert witness fees Se      1     $3,682.50     $3,682.50          38918


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/11/2018                              78059              Hard              PR                                  Draft n Craft - summary of Eric Soder depo      1      $111.50       $111.50           38918




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 10/26/2018                              77192              Soft              EXP                                 Morones Analytics - expert witness fees Oc      1     $2,415.00     $2,415.00          38918




                        Desc
                                Page: 13 of 18                                                                                                                                                                Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                 Unit         Rate        Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 11/01/2018                              78054              Hard              PARK                                Parking expense                               1       $3.00        $3.00           39046


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 11/29/2018                              79025              Hard              TEL                                 Long-distance charges [conference call]       1       $9.21        $9.21           39046


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 12/20/2018                              79662              Hard              PR                                  DraftNCraft - deposition summary              1     $111.50      $111.50           39110




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/18/2019                              80627              Hard              EXP                                 Morones Analytics - expert witness fees       1     $712.50      $712.50           39201


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 01/31/2019                              81242              Hard              PACER                               PACER document access fee                     1       $4.20        $4.20           39201


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 02/11/2019                              81580              Hard              EXP                                 Morones Analytics - expert witness fees (Ja 1      $4,680.00    $4,680.00          39235


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/01/2019                              81842              Hard              TRV                                 Southwest Airlines - travel to Seattle for 3/2 2    $157.97      $315.94           39346


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/11/2019                              82365              Hard              EXP                                 Morones Analytics - expert witness fees       1    $2,085.00    $2,085.00          39346




                 Page 21 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/13/2019                              83795              Hard              PR                                  Escribers - transcript                        1      $63.60       $63.60           39420


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/25/2019                              82727              Hard              PR                                  FedEx Office - printing and reproduction      1      $36.37       $36.37           39346


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/25/2019                              83794              Hard              PR                                  FedEx Office - printing and reproduction      1     $292.05      $292.05           39420




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/26/2019                              82726              Hard              PARK                                Phoenix Sky Harbor - parking                  1      $54.00       $54.00           39346




                        Desc
                                Page: 14 of 18                                                                                                                                                            Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                   Unit          Rate         Value       Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/26/2019                              83796              Hard              ML                                  Meal Expense - Seattle depo                     1      $164.81       $164.81           39420


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/26/2019                              83797              Hard              HOT                                 Hotel - Seattle depo                            1     $1,441.17     $1,441.17          39420


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/29/2019                              82748              Hard              PR                                  YOM: Full Service Court Reporting - contin      1      $950.00       $950.00           39346




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 03/31/2019                              83358              Hard              PACER                               PACER document access fee                       1         $4.50         $4.50          39346


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/09/2019                              83459              Hard              EXP                                 Morones Analytics - expert witness fees         1    $18,225.47    $18,225.47          39420


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




Main Document
                 04/12/2019                              83807              Soft              PR                                  YOM: Full Service Court Reporting - contin      1     $1,515.40     $1,515.40          39420


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/22/2019                              83804              Hard              ML                                  Meal Expense                                    1       $43.45        $43.45           39420


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/30/2019                              84286              Hard              PACER                               PACER document access fee                       1         $4.70         $4.70          39420




                 Page 22 of 25
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 04/30/2019                              84287              Hard              PACER                               PACER document access fee                       1       $16.70        $16.70           39420


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/09/2019                              84532              Hard              PR                                  YOM: Full Service Reporting - Bellino trans     1     $1,472.45     $1,472.45          39489


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/14/2019                              84885              Hard              EXP                                 Morones Analytics - expert witness fees         1    $57,000.00    $57,000.00 *        39489




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/14/2019                              84891              Hard              PR                                  YOM: Full Service Reporting - Tim Shaffer       1      $822.90       $822.90           39489




                        Desc
                                Page: 15 of 18                                                                                                                                                                Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                                 Unit         Rate        Value       Invoice #



                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/16/2019                              84933              Hard              PR                                  YOM: Full Service Court Reporting - Azzar     1     $865.40      $865.40           39489


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/28/2019                              84973              Hard              PR                                  YOM: Full Service Court Reporting - Lawco     1     $958.80      $958.80           39489


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 05/31/2019                              85482              Hard              WL                                  Westlaw research                              1      $53.78       $53.78           39489




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/03/2019                              85523              Hard              PR                                  YOM: Full Service Court Reporting - Thom      1    $1,317.90    $1,317.90          39531


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/04/2019                              86718              Hard              PROF                                Morones Analytics - expert witness fees       1       $0.00        $0.00 **        39531




Main Document
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/17/2019                              85713              Hard              PROF                                Fronteo USA - Relativity hosting              1     $229.47      $229.47           39531


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 06/30/2019                              86032              Hard              WL                                  Westlaw research                              1    $1,109.95    $1,109.95          39531


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)




                 Page 23 of 25
                 07/23/2019                              86895              Hard              PR                                  YOM: Full Service Court Reporting - Amaz      1     $750.55      $750.55




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                        Desc
                                Page: 16 of 18                                                                                                                                                            Client Expense Report
                                                                                                                SWAZLAW, P.L.C.
                                                                                                                 Client Expense Report

                 Client                            Client Matter ID Resp.   File Type           File
                 Date                              Audit #                  Type                Code                              Description                               Unit               Rate          Value        Invoice #


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2019                              87437              Hard              PACER                               PACER document access fee                     1            $3.80         $3.80


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 07/31/2019                              87466              Hard              WL                                  Westlaw research                              1           $26.38        $26.38


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/08/2019                              87758              Hard              WL                                  Westlaw research                              1            $8.04         $8.04




                        Case 2:11-bk-28944-DPC
                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/09/2019                              87754              Hard              PACER                               PACER document access fee                     1            $1.10         $1.10


                 Timothy H. Shaffer                1158/1158.14 SRG         BK Debtor Chap 11 Shaffer-Dynamix (14 - Litigation)
                 08/12/2019                              87755              Hard              PACER                               PACER document access fee                     1            $1.10         $1.10


                 Reimbursed Costs***                                        BK Debtor Chap 11 Reimbursed in                                                                     1    ($8,117.38)      ($8,117.38)




Main Document
                                                                                              Chapter 11 Case

                                                                                                Firm Totals                                                                                           $463,459.65


                                                                                                                                                Summary by Responsible Lawyer                                 Value
                                                                                                                                                                                    SRG                 $463,459.65
                                                                                                                                                                                    Total               $463,459.65

                                                                                                                                                             Summary by Type                                  Value




                 Page 24 of 25
                                                                                                                                                                                    Hard                $425,719.96
                                                                                                                                                                                     Soft                $37,739.69
                                                                                                                                                                                    Total               $463,459.65




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                        Desc
                                Page: 17 of 18                                                                                                                                                                   Client Expense Report
                                                                                                   SWAZLAW, P.L.C.
                                                                                                   Client Expense Report

                 Client                            Client Matter ID Resp.   File Type   File
                 Date                              Audit #                  Type        Code                        Description                                 Unit              Rate        Value        Invoice #

                                                                                                                                                Summary by Code                               Value
                                                                                                                                                                                             $60.00
                                                                                                                                                                          DEL                $30.56
                                                                                                                                                              Reimbursement              ($8,117.38)
                                                                                                                                                                         E101               $116.10
                                                                                                                                                                         E102               $549.60
                                                                                                                                                                         E103               $126.00
                                                                                                                                                                         E106              $4,686.98
                                                                                                                                                                         E107               $503.56
                                                                                                                                                                         E108                $15.00
                                                                                                                                                                         E109              $1,011.82




                        Case 2:11-bk-28944-DPC
                                                                                                                                                                         E110               $173.50
                                                                                                                                                                         E111                $75.71
                                                                                                                                                                         E112               $293.00
                                                                                                                                                                         E113               $125.00
                                                                                                                                                                         EXP             $400,496.90
                                                                                                                                                                         HOT               $2,097.89
                                                                                                                                                                        MISC              $26,171.48
                                                                                                                                                                           ML               $442.43
                                                                                                                                                                       PACER                 $65.90
                                                                                                                                                                        PARK                $193.00




Main Document
                                                                                                                                                                           PC                  $3.00
                                                                                                                                                                           PR             $21,018.58
                                                                                                                                                                       PROF                $4,674.47
                                                                                                                                                                           PS                  $3.08
                                                                                                                                                                          TEL               $175.33
                                                                                                                                                                         TRV               $4,249.60
                                                                                                                                                                           WL              $4,218.54
                                                                                                                                                                        Total            $463,459.65

                                                                                                                                            Summary by File Type                               Value




                 Page 25 of 25
                                                                                                                                                          BK Debtor Chap 11              $463,459.65
                                                                                                                                                                        Total            $463,459.65

                                                                                                                                      Summary by Billing Category                              Value
                                                                                                                                                                       Billable          $463,459.65
                                                                                                                                                                        Total            $463,459.65

                 * The original invoice of $80,467.50 shows a $6,000 credit from the vendor. The new total amount of $74,467.50 was paid both by Schian Walker ($57,000) and G&K ($17,467.50).
                 ** The May invoice of $37,796.50 was fully paid by G&K, so it has been zeroed out on this spreadsheet.
                 *** During the Chapter 11 Case, Schian Walker was reimbursed $8,117.38. This reimbursed amount was not reflected on the original spreadsheet.




Doc 682 Filed 10/07/22 Entered 10/07/22 11:29:17
                        Desc
                                Page: 18 of 18                                                                                                                                                    Client Expense Report
